
PER CURIAM.
Appellant has raised two points in his brief which we conclude do not demonstrate reversible error.
At oral argument appellant contended additionally that the sentence imposed violates the rule laid down in Villery v. Florida Parole &amp; Probation Com’n, 396 So.2d 1107 (Fla.1981), and appellant urges that the case be remanded for a new sentencing under the Villery guidelines.
Accordingly, we affirm the judgment appealed from in all respects, but we reverse the sentence and remand the cause with directions to vacate the present sentence and resentence appellant in accordance with the guidelines set forth in the Villery decision.
DOWNEY, GLICKSTEIN and HURLEY, JJ., concur.
